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Objection to Peter Kelly attendance in case

19-24331

Dear Honorable Judge Peter D. Russin

UNITED STATES BANKRUPTCY COURT

United States Courthouse 299 E. Broward Blvd.
Courtroom: 301 / Chambers: Room 303

Fort Lauderdale, FL 33301

Bankruptcy Case 19-bk-24331-PDR Date: July 4, 2021

Objecting to Mr. Peter Kelly appeance since he was not registered to appear in
case 19-24331-PDR. Peter Kelly is not a regular of employee of BoniPC nor Mr.
Stewart's law firm. Mr. Kelly seems to be an Appearance attorney. Mr Kelly has
violated the Southern District Bankruptcy Court Rule

9010-1 (A) Requirement of Notice of Appearance

“proceeding in this court must file a notice of appearance in the case or
proceeding, except that the notice need not be filed when the appearance has

previously been evidenced by the filing of a paper on behalf of the client”

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Judge Russin, | presume, would not allow this violation to occur.

During the hearing held on June 1, 2021, the unregistered Mr Kelly only only had
2 sentences.

Sentence 1 “May | speak”
Sentence 2: “My name is Peter Kelly.”
Since Mr. Peter Kelly did not represent any client in Judge Russin court.

1. lam demanding that rulings made that would impact the credit(s) be
overturn since the creditor(s) did not have legal representation presentant

2. | am requesting that Mr. Kelly be bared from case 19-24331-PDR due to
blannent abuse/violation/ignoring court rules and maybe misspeak.

As Judge Russin has stated a number of time that | donot know law. | would
expect a lawyer to know the law.

Notice of Appearance
Local Rule Number:

Rule 9010-1

9000 Series

(A) Requirement of Notice of Appearance. Every attorney representing a party or
witness in any case or proceeding in this court must file a notice of appearance in the case or
proceeding, except that the notice need not be filed when the appearance has previously been
evidenced by the filing of a paper on behalf of the client. For the purpose of this rule, the filing of
any paper (other than a ballot or proof of claim) shall, unless otherwise specified, constitute an
appearance by the attorney who signs or electronically files it. An appearance filed in the main
bankruptcy case is not an appearance in the adversary proceeding nor is an appearance in an
adversary proceeding an appearance in the main case. To receive service in both a main case and
a related adversary proceeding, a notice of appearance must be filed in the main case and another
notice of appearance must be filed in the adversary proceeding.

Sincerely

Ralph L. Sanders Page 2 of 3 case 19-24331 fo.

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561 SW 60" ave

Plantation, Fl. 33317
754.801.7097
Bankruptcy case 19-24331

Out against Doctors orders

FIK

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